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 1                                                   THE HONORABLE RICARDO S. MARTINEZ
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9
     JAMES GINZKEY, RICHARD                               Case No.: 2:18-cv-01773-RSM
10   FITZGERALD, CHARLES CERF, BARRY
     DONNER, and on behalf of the class members           NATIONAL SECURITIES
11   described below,                                     CORPORATION’S REPLY IN
12                                                        SUPPORT OF ITS MOTION TO
                    Plaintiffs,
                                                          DISMISS
13          v.
                                                          NOTE ON MOTION CALENDAR:
14   NATIONAL SECURITIES CORPORATION,                     MARCH 22, 2019
     a Washington Corporation,
15
                                                          WITHOUT ORAL ARGUMENT
                    Defendant.
16

17

18                                       I.   INTRODUCTION
19          National Securities Corporation (“NSC”) by and through its undersigned attorneys hereby
20   submits its Reply in Support of its Motion to Dismiss. Plaintiffs’ Complaint should be dismissed.
21   Reasonable minds cannot differ that Plaintiffs assumed the risk that Beamreach could fail since
22   the risks of the Beamreach investment were fully disclosed to Plaintiffs. Plaintiffs (accredited,
23   sophisticated investors) must have appreciated the risks of the investment, but they chose to invest
24   anyway. Plaintiffs’ Response to NSC’s Motion to Dismiss is based on numerous false premises.
25   For example, Plaintiffs claim that “[n]o dismissal based on implied assumption of risk has ever
26   been affirmed by any Appellate Court or Federal District Court applying Washington law.” Pf.
27
      NATIONAL SECURITIES CORPORATION’S                                 BAKER & HOSTETLER LLP
      REPLY IN SUPPORT OF ITS                                           999 Third Avenue, Suite 3600
      MOTION TO DISMISS                                                 Seattle, WA 98104-4040
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 1   Resp. at 1. This is directly contradicted by numerous Washington Court of Appeals cases cited

 2   below. Relying on outdated law that has since been clarified by the Washington Supreme Court,

 3   Plaintiffs also incorrectly argue that implied primary assumption of risk is not a complete bar to

 4   recovery. It is a complete bar. Finally, in their Response, Plaintiffs submit a bullet point list of

 5   facts about Beamreach that Plaintiffs claim they never knew. Pf. Resp. at 17-18. To the contrary,

 6   all of those facts were disclosed to Plaintiffs by NSC.

 7              Ultimately, Plaintiffs’ complaint about NSC’s conduct is that the Beamreach investments

 8   carried a high degree of risk.              But Plaintiffs were repeatedly warned that the Beamreach

 9   investments had a “high degree of risk.” Ex. A at NSC000022; Ex. B at NSC000384; Ex. C at

10   NSC000676 (emphasis added).1 Plaintiffs did not simply receive “boiler-plate” warnings here.

11   Rather, Plaintiffs were repeatedly warned of the specific risks that Plaintiffs allege in their

12   Complaint ultimately caused Beamreach to fail. If Plaintiffs’ lawsuit is allowed to proceed, it

13   would essentially hold brokers liable every time a high-risk investment failed, despite the warnings

14   made to Plaintiffs and the Plaintiffs’ own sophistication. Brokers are not and should not be held

15   to be guarantors of high risk investments.

16               Unfortunately, Beamreach failed. Counter to Plaintiffs’ arguments, NSC is not “blaming”

17   Plaintiffs for their failed investment. Rather, NSC is merely stating a fact: that Plaintiffs were well

18   aware of the risks of investing in Beamreach and chose to do so. This was implied primary

19   assumption of risk and Plaintiffs’ claims should be dismissed.

20                                                 II.     ARGUMENT

21          A. Reasonable Minds Could Not Differ that Plaintiffs’ Claims are Barred by Implied
               Primary Assumption of Risk.
22

23              Plaintiffs’ claims rely on the premise that NSC allegedly violated FINRA regulations

24   regarding the suitability of investments in Beamreach. See Dkt. No. 1. To that end, Plaintiffs

25   argue that FINRA Regulations provide that NSC’s suitability duties cannot be disclaimed. See Pf.

26
     1
27       Citation to exhibits in this Reply refer to the PPMs attached as exhibits to NSC’s Motion to Dismiss.
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 1   Resp. at 5. However, Plaintiffs’ claims are not for violation of FINRA regulations per se, of which

 2   there is no cause of action. Grace Fin. Grp., LLC v. Dino, 138 A.D.3d 644, 645, 31 N.Y.S.3d 472,

 3   473 (N.Y. App. Div. 2016) (“the law is clear that there is no private cause of action for [violation

 4   of the rules of FINRA]”). Rather, Plaintiffs’ claims are negligence claims,2 which are subject to

 5   the common law defense of assumption of risk.

 6           “Implied primary assumption of risks arises when (1) the plaintiff impliedly consents to

 7   relieve the defendant of a duty to plaintiff about specific known and appreciated risks; and (2) the

 8   plaintiff engages in conduct, from which consent is implied.” Wirtz v. Gillogly, 152 Wn. App. 1,

 9   8, 216 P.3d 416, 420, published with modifications at 150 Wn. App. 1053 (2009) (quoting Scott v.

10   Pac. W. Mountain Resort, 119 Wn.2d 484, 497, 834 P.2d 6 (1992) and Erie v. White, 92 Wn. App.

11   297, 303, 966 P.2d 342 (1998)) (internal citations omitted). Assumption of risk may be decided

12   as a matter of law where reasonable minds cannot differ. See id. Here, reasonable minds cannot

13   differ that Plaintiffs assumed the risk that the Beamreach investment might fail.

14           Plaintiffs have not objected to NSC’s request to have the Court consider the Beamreach

15   PPMs under the doctrine of incorporation by reference or through judicial notice. Accordingly,

16   NSC’s request should be granted. Although Plaintiffs allege that the PPMs were provided to

17   “some Plaintiffs,” they fail to identify any named Plaintiff who did not receive them. Pf. Resp. at

18   1. Further, “investors are presumed to have read prospectuses, quarterly reports, and other

19   information related to their investments.” Mathews v. Kidder, Peabody & Co., Inc., 260 F.3d 239,

20   252 (3d Cir.2001). As such, Plaintiffs are presumed to have read the PPMs before deciding to

21   purchase investments in Beamreach.

22           Reasonable minds could not differ that the type of risk facing Plaintiffs (i.e. the collapse of

23   Beamreach due to various risk factors) was fully described to them in the PPMs. As identified in

24   2
       Plaintiffs have not pled a fraud claim in their Complaint and their Complaint does not meet the heightened pleading
25   standards for fraud required by Federal Rule of Civil Procedure 9. See Dkt. No. 1. Plaintiffs have attempted to
     conflate their negligence claim with a fraud claim by arguing that NSC had a conflict of interest (without citing any
26   supporting authority) and that NSC’s actions were “tantamount to fraud,” without actually pleading that NSC
     intentionally misled any investor. Pf. Resp. at 9. Plaintiffs’ unsupported hyperbole should be disregarded by the
27   Court.
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 1   detail below, the PPMs described all of the risks Plaintiffs complained about in their Complaint

 2   and in their Response brief. Further, reasonable minds could not differ that Plaintiffs, who are

 3   accredited investors3 of high net worth or annual income, must have appreciated the risks of their

 4   investment. Accredited investors are “considered sophisticated enough by virtue of their assets

 5   and experience that they don’t need so much protection [as unsophisticated investors].” ACAP

 6   Fin., Inc. v. U.S. S.E.C., 783 F.3d 763, 765 (10th Cir. 2015). There are relaxed rules for selling

 7   investments to accredited investors and such securities are not required to be registered with the

 8   Securities and Exchange Commission.                  Id.    Accredited investors also are presumed to be

 9   sophisticated and aware of the risks involved in their investments. See Davis v. St. Anselm Expl.

10   Co., No. 10-CV-883 KG/WPL, 2015 WL 13651012, at *5 (D.N.M. Oct. 8, 2015). While Plaintiffs

11   are correct that FINRA applies its suitability rules to accredited investors (see Pf. Resp. at 5-6, 15),

12   their status as accredited investors is relevant here to Plaintiffs’ appreciation of the risks of the

13   Beamreach investments.

14            By purchasing the Beamreach investments with full knowledge and appreciation of their

15   risks, Plaintiffs impliedly consented to accept the inherent investment risks and thereby relieved

16   NSC of its duty.

17        B. The Washington Court of Appeals has Repeatedly Affirmed Dismissal of Negligence
             Claims under the Implied Primary Assumption of Risk.
18

19            Plaintiffs allege that “[n]o dismissal based on implied assumption of risk has ever been

20   affirmed by any Appellate or Federal District Court applying Washington law.” Pf. Resp. at 1.

21   This is demonstrably incorrect: the Washington Court of Appeals has repeatedly affirmed

22   dismissal of all claims based on implied primary assumption of risk. See Pellham v. Let's Go

23   Tubing, Inc., 199 Wn. App. 399, 416–18, 398 P.3d 1205, 1216 (2017) (plaintiff assumed risk of

24   injuries involved in river tubing); Hvolboll v. Wolff Co., 187 Wn. App. 37, 40, 347 P.3d 476 (2015)

25
     3
26     Plaintiffs are “accredited investors” because their individual net worth, or joint net worth with that person’s spouse,
     exceeds $1,000,000 or they have an annual income exceeding $200,000 in each of the two most recent years or joint
27   income with their spouse during those years in excess of $300,000. 17 C.F.R. §230.501(a)(5), (6).
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 1   (plaintiff assumed risk of falling on snow and ice); Reed-Jennings v. Baseball Club of Seattle, L.P.,

 2   188 Wn. App. 320, 351 P.3d 887 (2015) (plaintiff assumed risk of injuries sustained while

 3   spectating a baseball game); Jessee v. City Council of Dayton, 173 Wn. App. 410, 415–16, 293

 4   P.3d 1290, 1293 (2013) (plaintiff assumed risk of injury on stairs); Wirtz v. Gillogly, 152 Wn. App.

 5   1, 2–3, 216 P.3d 416, 417, published with modifications at 150 Wn. App. 1053 (2009) (plaintiff

 6   assumed risk associated with felling trees); Taylor v. Baseball Club of Seattle, L.P., 132 Wn. App.

 7   32, 130 P.3d 835 (2006) (plaintiff assumed risk of injuries sustained while spectating a baseball

 8   game); Erie v. White, 92 Wn. App. 297, 306, 966 P.2d 342, 347 (1998) (plaintiff assumed risk of

 9   injuries due to using improper equipment to cut down a tree). Washington trial courts have

10   routinely dismissed claims due to implied primary assumption of risk as a matter of law and

11   Washington appellate courts have routinely affirmed such dismissals. Thus, contrary to Plaintiffs’

12   assertion, NSC is not asking this Court to “join them far out on a limb.” Pf. Resp. at 1. NSC is

13   asking the Court to follow the precedents cited above.4

14        C. Implied Primary Assumption of Risk Negates Defendant’s Duty and is a Complete
             Bar to Recovery Here.
15
              Relying on Kirk v. Wash. State Univ., 109 Wn.2d 448, 746 P.2d 285 (1987), Plaintiffs argue
16
     that implied primary assumption of risk does not serve as a complete bar to recovery where the
17
     injury results from Plaintiffs’ implied primary assumption of risk and Defendant’s negligence. Pf.
18
     Resp. at 13-14. Plaintiffs instead argue that implied primary assumption of risk should be treated
19
     as a damage-reducing factor. Holdings after Kirk, however, hold that implied primary assumption
20
     of risk acts to negate the Defendant’s duty, absolving them of alleged negligence, and acts as a
21
     complete bar to recovery. See Scott By & Through Scott v. Pac. W. Mountain Resort, 119 Wn.2d
22
     484, 497–99, 834 P.2d 6, 13–14 (1992). Specifically, in Scott, the Washington Supreme Court
23
     clarified: “This court explained [in Kirk] that the basis of both express and implied primary
24
     4
25     Without citing any authority, Plaintiffs argue that because proving primary assumption or risk requires evidence, it
     is impossible to apply it in the context of a 12(b)(6) motion. Pf. Resp. at 13. This ignores the Ninth Circuit’s guidance
26   that a motion to dismiss under Rule 12(b)(6) can be granted based upon an affirmative defense when that “defense
     raises no disputed issues of fact.” Scott v. Kuhlmann, 746 F.2d 1377, 1378 (9th Cir. 1984). Here, for reasons stated
27   in this brief, there are no disputed issues of fact.
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 1   assumption of risk was the plaintiff’s consent to the negation of defendant’s duty with regard to

 2   those risks assumed. Since implied primary assumption of the risk negates duty, it acts as a bar to

 3   recovery when the injury results from one of the risks assumed.” Id. (emphases in original).

 4          Washington Practice has explained this concept as follows: “If the injury results solely

 5   from the condition that was expressly or impliedly assumed (e.g., a steep ski slope), it results in a

 6   finding of no negligence. On the other hand, if the risk assumed (a steep ski slope) combines with

 7   a risk that was not assumed (e.g., substandard lighting of a ski slope at night), then a comparative

 8   method should be used.” § 9:13.Assumption of risk—Implied primary, 16 Wash. Prac., Tort Law

 9   And Practice § 9:13 (4th ed.). In particular, known risks may be assumed, unlike risks that are not

10   known or not voluntarily encountered. See Kirk, 109 Wn.2d at 456. Here, as described below,

11   Plaintiffs assumed the known risks inherent in the Beamreach investments by choosing to invest

12   in Beamreach.

13          The cases relied on by Plaintiffs are inapposite because they involve plaintiffs who did not

14   assume all of the risks at issue. See Scott, 119 Wn.2d at 497–99 (discussing that in Kirk, the

15   plaintiff cheerleader assumed the risks inherent in the sport of cheerleading, but did not assume

16   the risks caused by the university’s negligent provision of dangerous facilities or improper

17   instruction or supervision); Shorter v. Drury, 103 Wn.2d 645, 659, 695 P.2d 116, 124 (1985)

18   (plaintiff assumed risk of refusal to permit a blood transfusion, not risk that her surgeon would

19   perform operation negligently).      In contrast, Plaintiffs fully assumed the known risk that

20   Beamreach might fail.

21      D. Beamreach/NSC Fully Disclosed all the Risks to Plaintiffs, who are Accredited,
           Sophisticated Investors.
22
             “The general rule is that for persons to assume a risk, they must be aware of more than
23
     just the generalized risk of their activities; there must be proof they knew of and appreciated the
24
     specific hazard which caused the injury.” Shorter, 103 Wn.2d at 657. Here, Plaintiffs knew of the
25
     specific hazard that caused their injury. In their response, Plaintiffs list bullet points about
26
     Beamreach that NSC knew or should have known had it supposedly done proper due diligence,
27
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 1   which Plaintiffs were allegedly unware of with regard to Beamreach. Id. But contrary to Plaintiffs’

 2   assertion, Beamreach/NSC did warn Plaintiffs about all the facts identified in the bullet points, as

 3   follows (emphases added):

 4
                  Plaintiff's Bullet Points                             PPM Disclosures
 5
      Before engaging NSC to raise additional funds      "Since inception, [Beamreach] has been
 6    Beamreach burned through over $200 million         operating in 'start-up' mode developing its
      in investor money without before [sic] having      solar photovoltaic ("PV") technology and has
 7    a viable product to sell. (Cmplt. ¶ 73).           generated substantial net losses." Ex. A at
                                                         NSC000029. “[Beamreach’s] product
 8
                                                         development effort is ongoing. While major
 9                                                       technical milestones have been achieved and
                                                         functional product prototypes demonstrated,
10                                                       several potential technological hurdles
                                                         remain, and [Beamreach’s] solar modules
11                                                       have only been tested to a limited extent in
                                                         outdoor environments.” Ex. A at
12
                                                         NSC000035-37. Financial statements in the
13                                                       PPM identified a more than $200 million
                                                         Total Stockholders’ Deficit. Ex. B at
14                                                       NSC000484.
      As of February 5, 2015, Beamreach only had a       “These additional funds [from the Series D
15    cash runway to continue operations through         offering] ($18.5 million in equity and $9.25
      April 2016 (even with a fully subscribed           million in debt) are needed in order to execute
16
      offering). (Cmplt. ¶ 74).                          on the Company’s HVM (high volume
17                                                       manufacturing) scale-up plan and to extend
                                                         its cash runway through approximately April
18                                                       2016.” Ex. A at 3 of 54.
19    Beamreach’s valuation from the Series B            “[Beamreach’s] Series B Preferred Stock
20    round offered in 2008 dropped by more than         financing was completed in 2008 at a
      60% from $625 million to only $250 million         valuation of $625 million. The Company’s
21    for the Series D round. (Cmplt. ¶ 75).             Series C Preferred Stock Financing was
                                                         completed at a valuation of $100 million….
22                                                       While the Series D Preferred Stock valuation
                                                         of $250 million is higher than the Series C
23                                                       Preferred Stock financing, it is still
24                                                       significantly lower than the Series B
                                                         Preferred Stock Valuation.” Ex. A at
25                                                       NSC000024.

26

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 1               Plaintiff's Bullet Points                           PPM Disclosures
 2   After burning through more than $200 million    “The Company signed Memoranda of
     in investor funds, Beamreach was only able to   Understanding (“MOUs”) with a number of
 3   secure a handful of non-binding Memoranda of    prospective clients. Most of these non-
     Understanding (“MOUs”) with prospective         binding MOUs have expiration dates of
 4   customers that expired prior to the             December 31, 2014, and the Company is
     commencement of the NSC offering. (Cmplt. ¶     currently in the process of extending them,”
 5   76).                                            noting that Beamreach “cannot guarantee that
 6                                                   it will be able to secure or retain relationships
                                                     with any of its targeted customers.” Ex. A at
 7                                                   NSC000032 ¶9.
     Beamreach had no actual customers. (Cmplt. ¶ “[Beamreach] is a development stage
 8   77).                                            company and has a limited operating history
                                                     in its current primary business, making it
 9
                                                     difficult to evaluate its present and future
10                                                   performance.” “[Beamreach’s] operations to
                                                     date have consisted largely of product
11                                                   research and development.” Ex. A at
                                                     NSC000029.
12   The market had little interest in a lightweight "Technologies developed by [Beamreach’s]
     panel, and were too expensive compared to a     direct competitors, including crystalline-
13
     commoditized silicon panel, which has a         silicon solar modules, thin-film solar
14   commercially proven reliability and a better    modules, concentrating solar cells, solar
     price point. (Cmplt. ¶ 77).                     thermal electric, and other solar technologies,
15                                                   may provide power at lower costs than
                                                     [Beamreach’s] products." Ex. A at
16                                                   NSC000042.
17   Asian solar panel manufacturers drove industry "The increase in the global supply of solar
     pricing below the cost of production, causing   cells and modules, and increasing
18   many producers to shut plants or cease          competition, may cause substantial downward
     production entirely. (Cmplt. ¶ 78).             pressure on the prices of such products and
19                                                   cause [Beamreach] to lose sales or market
                                                     share, resulting in lower revenues, earnings,
20                                                   and cash flows than are currently projected."
21                                                   Ex. A at NSC000041.
     Sophisticated private equity funds and venture "The Company cannot guarantee any further
22   capitalists, which have their own teams of      participation of any of its existing
     professionals who vet companies like            institutional investors in the Offering." Ex. C
23   Beamreach prior to investing slowed their       at NSC000678.
     investment to a trickle prior to NSC selling to
24
     Plaintiffs. (Cmplt. ¶ 80).
25

26

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 1                Plaintiff's Bullet Points                            PPM Disclosures
 2   NSC was aware of the terms of the Opus Bank        “[Beamreach’s] obligations under the [Opus
     financing not disclosed in the PPM including:      Bank] credit agreement are secured by a lien
 3   (a) Opus Bank had secured their debt financing     against substantially all of [Beamreach’s]
     with a blanket lien against “substantially all”    assets." Ex. A at NSC000024. "As of
 4   of Beamreach’s domestic assets; (b) If there       September 1, 2016, Beamreach Solar's
     was any bankruptcy or other change in control      aggregate monthly expense under the Trinity
 5   prior to the repayment of the loan, Opus Bank      Equipment Lease, the Essex Equipment
 6   would have a senior secured claim on the           Leases and the [Opus] Credit Agreement was
     assets; (c) Given that Beamreach’s only real       approximately $1.2 million, and will remain
 7   asset after all of their fundraising was their     around $1.2 million until November 2016 ....
     “valuable” intellectual property, the equity       Unless the Credit Agreement is amended or
 8   investors would have nothing left in the event     refinanc[ed], starting in January 2017, the
     of a default on this loan; (d) Beamreach owed      aggregate monthly expense under the Essex
 9   $1.2 million per month just to service debt; and   Equipment Leases and the Credit Agreement
10   (e) By mid 2016, that debt service would jump      will increase to approximately $1.9 million,
     to $1.7 million per month. (Cmplt. ¶ 85). This     because of the end of the interest-only period
11   Opus Bank agreement caused the risk of a           on the Credit Agreement on December 31,
     complete loss in the short term to far outweigh    2016." Ex. B at NSC000409.
12   any potential long term reward. (Cmplt. ¶ 86).
13

14
     There was little commercial appetite for the IP    NSC disclosed two and a half pages detailing
15   that Beamreach had spent $250 million              the risks related to Beamreach’s technology,
     developing, and that the valuable IP portfolio     specifically noting that “[Beamreach’s]
16   was virtually worthless. (Cmplt. ¶ 89).            product development effort is ongoing.
                                                        While major technical milestones have been
17                                                      achieved and functional product prototypes
                                                        demonstrated, several potential technological
18
                                                        hurdles remain, and [Beamreach’s] solar
19                                                      modules have only been tested to a limited
                                                        extent in outdoor environments.” Ex. A at
20                                                      NSC000035-37.
21

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 1               Plaintiff's Bullet Points                             PPM Disclosures
 2   The October 2016 Fifth Amendment to the            NSC attached the Fifth Amendment with the
     Opus Bank financing essentially placed a           Supplemental PPM. Ex. C. NSC also
 3   terminal date on Beamreach. Beamreach was          disclosed: “Under the terms of the current
     effectively required to replace or refinance the   agreement with Opus Bank, as amended by
 4   Opus Bank loan by March 2017 – within six          the Opus [Fifth] Amendment, the Company
     months of the Fifth Amendment. Given their         will effectively be required to replace the
 5   short cash runway, lack of revenue, lack of        outstanding Opus bank debt facility, raise
 6   binding commercial contracts, virtually            significant additional equity or sell the
     worthless IP, it would be virtually impossible     Company on or before March 31, 2017. If
 7   for them to sell or refinance in such a short      the Company is unable to find a new lender,
     timeframe. (Cmplt. ¶97).                           raise such equity or complete a sale, it may
 8                                                      have to shut down.” Ex. C at NSC000678
                                                        (emphasis added).
 9
     Beamreach had retained bankruptcy counsel      NSC described that “[i]f the Company does
10   prior to the November 2016 offering. (Cmplt. ¶ not meet the additional funding deadlines
11   100).                                          imposed by Opus Bank, the Company will be
                                                    in default of the Credit Agreement with Opus
12                                                  Bank, all capital previously invested in the
                                                    Offering will be at risk and the Company may
13                                                  be forced to pursue an immediately [sic] sale
                                                    or wind down.” Ex. C at NSC000678 ¶4.
14
     On October 19 and October 24, 2016,                See above describing that Beamreach may be
15   Beamreach paid its bankruptcy counsel,             forced to pursue an immediate sale or wind
     Pachulski Stang Ziehl & Jones, LLP, for            down.
16
     services in connection with restructuring or
17   bankruptcy of the company. (Cmplt. ¶ 101).

18   By November 2016, NSC knew that the            See above describing that Beamreach may be
     company was in dire financial straits, and was forced to pursue an immediate sale or wind
19   being forced to sell the company or refinance  down.
     the Opus loan by March 2017. Naturally, in
20   conducting reasonable diligence on a company
     that clearly disclosed heavy short-term
21
     obstacles which concern the viability of a
22   company as a going concern, a reasonably
     prudent brokerdealer in the same or similar
23   circumstances would have inquired into
     whether or not Beamreach was contemplating
24   bankruptcy in the short term, and if it had
     retained bankruptcy counsel. Upon information
25
     and belief, NSC made no such inquiry. (Cmplt.
26   ¶ 102).

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 1           It is plain that the thrust of Plaintiffs’ complaints about Beamreach were fully disclosed to

 2   them: Beamreach was a financially-distressed company that could be forced to shut down. While

 3   in hindsight it is easy for Plaintiffs to cherry-pick NSC’s disclosures to make them appear more

 4   daunting and menacing and to characterize them as incomplete or palliative, the fact remains that

 5   at the time NSC disclosed all known risks inherent in the Beamreach investment and Plaintiffs

 6   chose to invest anyway. In fact, Plaintiffs’ Complaint appears to be nothing more than a

 7   repackaging of the risks disclosed in the PPMs, which Plaintiffs now claim they did not know and

 8   use as the basis for this lawsuit. A motion to dismiss may be granted where the allegations in a

 9   complaint are contradicted by matters incorporated by reference or properly subject to judicial

10   notice. Casault v. Fed. Nat. Mortg. Ass'n, 915 F. Supp. 2d 1113, 1120 (C.D. Cal. 2012), aff'd sub

11   nom. Casault v. One W. Bank FSB, 658 F. App'x 872 (9th Cir. 2016) (citing Daniels-Hall v. Nat’l

12   educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)); Sprewell v. Golden State Warriors, 266 F.3d 979,

13   988 (9th Cir.), opinion amended on denial of reh'g, 275 F.3d 1187 (9th Cir. 2001) (“The court need

14   not … accept as true allegations that contradict matters properly subject to judicial notice or by

15   exhibit.”).

16           “[T]he required knowledge [for implied primary assumption of risk] is of a particular type

17   of risk, not knowledge of every variable that might affect the likelihood or exact mechanism of

18   harm.” Reed-Jennings v. Baseball Club of Seattle, L.P., 188 Wn. App. 320, 333–34, 351 P.3d 887,

19   893 (2015). “[W]hen an investor has been warned of risks of a significance similar to that actually

20   realized, [he] is sufficiently on notice of the danger of the investment to make an intelligent

21   decision about it according to [his] own preferences for risk and reward.” Harris v. Ivax Corp.,

22   182 F.3d 799, 807 (11th Cir. 1999). Although Plaintiffs argue that Harris should not apply to this

23   case because it was a securities fraud case, unlike here, the premise stated above is equally

24   applicable to an assumption of risk defense. See Pf. Resp. at 14; Pellham v. Let's Go Tubing, Inc.,

25   199 Wn. App. 399, 416–18, 398 P.3d 1205, 1216 (2017) (affirming dismissal based on implied

26   primary assumption of risk where river-tubing company “warned [plaintiff injured in tubing

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      NATIONAL SECURITIES CORPORATION’S                                  BAKER & HOSTETLER LLP
      REPLY IN SUPPORT OF ITS                                            999 Third Avenue, Suite 3600
      MOTION TO DISMISS - 11 -                                           Seattle, WA 98104-4040
      CASE NO. 2:18-CV-1773                                              Telephone: (206) 332-1380
             Case 2:18-cv-01773-RSM Document 27 Filed 03/22/19 Page 12 of 13



 1   accident] of the inherent perils attended to tubing and those dangers that led to [plaintiff’s]

 2   injuries.”). Here, reasonable minds could not differ that the type of risk facing Plaintiffs (i.e. the

 3   collapse of Beamreach due to various risks factors) was fully described to Plaintiffs in the PPMs

 4   and that risk was actually realized. As such, Plaintiffs’ claims are barred by implied primary

 5   assumption of risk.

 6                                       III.    CONCLUSION

 7          For the above-stated reasons, Plaintiffs’ claims should be dismissed.

 8          DATED this 22nd day of March, 2019.

 9                                                   Respectfully submitted,

10                                                   BAKER & HOSTETLER LLP

11
                                                     s/ Douglas W. Greene
12                                                   s/ James R. Morrison
                                                     Douglas W. Greene, WSBA #22844
13                                                   James R. Morrison, WSBA #43043
                                                     999 Third Avenue, Suite 3600
14
                                                     Seattle, Washington 98104
15                                                   Tel: (206) 332-1380
                                                     Fax: (206) 624-7317
16                                                   Email: dgreene@bakerlaw.com
                                                     Email: jmorrison@bakerlaw.com
17

18                                                   s/ Daniel J. Buzzetta
                                                     Daniel J. Buzzetta (pro hac vice)
19                                                   45 Rockefeller Plaza
20                                                   New York, NY 10111
                                                     Tel: (212) 589-4236
21                                                   Fax: (212) 589-4201
                                                     Email: dbuzzetta@bakerlaw.com
22
                                                     Attorneys for Defendant
23                                                   National Securities Corporation
24

25

26

27
      NATIONAL SECURITIES CORPORATION’S                                  BAKER & HOSTETLER LLP
      REPLY IN SUPPORT OF ITS                                            999 Third Avenue, Suite 3600
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on March 22, 2019, I electronically filed the foregoing Defendant

 3   NATIONAL SECURITIES CORPORATION’S REPLY IN SUPPORT OF ITS MOTION TO

 4   DISMISS PLAINTIFFS’ COMPLAINT with the Clerk of the Court using the CM/ECF system,

 5   which will send notification of such filing to the following:

 6           David P. Neuman, WSBA #48176
 7           Israels Neuman PLC
             10900 NE 8th Street, Suite 100
 8           PMB #155
             Bellevue, Washington 98004
 9           Tel: (206) 795-5798
             Email: dave@israelsneuman.com
10

11           Alexander N. Loftus, pro hac vice
             Joseph Wojciechowski, pro hac vice
12           Stoltmann Law Offices
             233 S. Wacker, 84th Floor
13           Chicago, IL 60606
             Tel: (312) 332-4200
14
             Email: alex@stoltlaw.com
15           joe@stoltlaw.com

16           Attorneys for Plaintiffs

17
                                                   s/ Serita Smith
18                                                 Serita Smith
                                                   Assistant to James R. Morrison
19

20

21

22

23

24

25

26

27
      NATIONAL SECURITIES CORPORATION’S                               BAKER & HOSTETLER LLP
      REPLY IN SUPPORT OF ITS                                         999 Third Avenue, Suite 3600
      MOTION TO DISMISS - 13 -                                        Seattle, WA 98104-4040
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